              Case 3:23-cv-00243-AMO Document 27 Filed 01/31/23 Page 1 of 3




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10
      Special Counsel for Plaintiffs Cedric de Lisser,
11    Christopher Moser, and Michael Michelin, in
      their capacity as the Trustees of the Cred
12    Liquidation Trust
13
14
                                   UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
16
     CEDRIC DE LISSER, CHRISTOPHER MOSER, )              Case No. 4:23-cv-00243-JD
17
     and MICHAEL MICHELIN, in their capacity as )
18   the Trustees of the Cred Liquidation Trust,     )   [Removal from Superior Court of California,
                                                     )      County of San Francisco, Case No.
19                  Plaintiffs,                      )      CGC-22603638]
             v.                                      )
20                                                       PLAINTIFFS’ STATEMENT PURSUANT
                                                     )
21   LOCKTON COMPANIES LLC, d/b/a                    )   TO FEDERAL RULE OF BANKRUPTCY
                                                         PROCEDURE 9027(e)(3)
     LOCKTON INSURANCE BROKERS LLC,                  )
22   a Missouri limited liability company; LOCKTON )
23   COMPANIES, LLC- PACIFIC SERIES, d/b/a           )   State Action Filed: December 22, 2022
     LOCKTON INSURANCE BROKERS LLC, a                )
24   Missouri limited liability company; and DOES 1- )
     10, inclusive.                                  )
25                                                   )
26                    Defendants.                    )

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         PLAINTIFFS’ STATEMENT PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9027(e)(3)
                                      CASE NO. 4:23-cv-00243-JD
               Case 3:23-cv-00243-AMO Document 27 Filed 01/31/23 Page 2 of 3




 1           1.      Plaintiffs Cedric De Lisser, Christopher Moser, and Michael Michelin, in their capacity
 2   as the Trustees of the Cred Liquidation Trust, respectfully state that the above-captioned matter was
 3   removed on January 18, 2023, by Defendants from the Superior Court of California, County of San
 4   Francisco, to this Court. Plaintiffs do not concede that this Court has subject matter jurisdiction over or
 5   should otherwise hear this litigation. Plaintiffs intend to file a motion to remand and/or to abstain.
 6           2.      Nevertheless, Federal Rule of Bankruptcy Procedure 9027(e) requires that Plaintiffs file
 7   this statement within 14 days of the date of removal. Therefore, Plaintiffs hereby conditionally consent
 8   to the entry of final orders or judgments in this litigation by a United States Bankruptcy Judge, to the
 9   extent that it is later determined that there is federal subject matter jurisdiction over this litigation and
10   this litigation is referred from a federal District Court to a federal Bankruptcy Court.
11           3.      Plaintiffs do not waive or relinquish and expressly reserve all of their respective rights,
12   claims, defenses and remedies, which may depend on this Court’s decision on Defendants’ Notice of
13   Removal, and Defendants’ continued position on a final order being issued by the Bankruptcy Court,
14   including, without limitation: (a) the right to argue that there is no federal subject matter jurisdiction
15   over this litigation; (b) the right to request that the Court abstain pursuant to 28 U.S.C. § 1344 from
16   hearing this litigation or remand this litigation pursuant to 28 U.S.C. § 1452(b); (c) the right to demand a
17   jury trial; and (d) the right to request that the reference of this litigation to a Bankruptcy Court be
18   withdrawn.
19   Dated: January 31, 2023                                 Respectfully submitted,
20
21                                                              GLUCK DANIEL ATKINSON LLP
                                                                ____________________________
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         Case 3:23-cv-00243-AMO Document 27 Filed 01/31/23 Page 3 of 3



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                                  CASE NO. 4:23-cv-00243-JD
